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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SHANNON TAYLOR, individually and on behalf of
all others similarly situated,

                              Plaintiff,                      Civil Action No. 16-cv-01812-KMK

       v.

TRUSTED MEDIA BRANDS, INC.,

                              Defendant.



                   NOTICE OF MOTION FOR FINAL APPROVAL OF
                          CLASS ACTION SETTLEMENT

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that on January 31, 2018 at 10:00 a.m. before the Honorable

Kenneth M. Karas, United States District Judge for the Southern District of New York, 300

Quarropas Street, White Plains, New York 10601, Plaintiff Shannon Taylor, by and through

Class Counsel will move and hereby does move for an order: (1) finally approving the Class

Action Settlement, and (2) certifying the Settlement Class.

       PLEASE TAKE FURTHER NOTICE that, in support of the motion, Plaintiff will rely

upon: (1) the accompanying Memorandum of Law, (2) the Declaration of Joseph I. Marchese,

and the exhibits attached thereto (including the Parties’ Class Action Settlement Agreement), and

(3) the Declaration of Lana Lucchesi, and the exhibits attached thereto.

       PLEASE TAKE FURTHER NOTICE that the undersigned hereby requests oral

argument.


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       A Proposed Final Judgment and Order of Dismissal with Prejudice is submitted herewith.
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Dated: January 11, 2018
                                          Respectfully submitted,


                                          By:    /s/ Joseph I. Marchese
                                                  Joseph I. Marchese

                                          BURSOR & FISHER, P.A.
                                          Scott A. Bursor
                                          Joseph I. Marchese
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                                                     Class Counsel




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